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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,                 )
                                            )
                         Plaintiff,         )
                                            )              8:05CR288
                 vs.                        )
                                            )               ORDER
  DWAYNE YOUMANS,                           )
                                            )
                         Defendant.         )

        Defendant Dwayne Youmans appeared before the court on Monday, May
  14, 2012 on a Petition for Warrant or Summons for Offender Under Supervision
  [168]. The defendant was represented by Assistant Federal Public Defender
  Richard H. McWilliams and the United States was represented by Assistant U.S.
  Attorney Robert C. Sigler on behalf of Susan T. Lehr. The government did not
  request detention therefore, the Defendant was not entitled to a preliminary
  examination. The defendant was released on current terms and conditions of
  supervision.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Bataillon.
        IT IS ORDERED:
        1.       A final dispositional hearing will be held before Judge Bataillon in
  Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
  Plaza, Omaha, Nebraska, on June 15, 2012 at 8:30 a.m. Defendant must be present
  in person.
        2.       The defendant is released on current conditions of supervision.
        DATED this 14th day of May, 2012.

                                                   BY THE COURT:

                                                   s/ F. A. Gossett
                                                   United States Magistrate Judge
